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                                                                                                             Exhibit A
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True Value Company, L.L.C., et al. (Case No. 24‐12337)
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                                                                                                            Exhibit A
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                                                                                                              Exhibit A
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